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IN RE: FORD MOTOR CO. DPS6
POWERSHIFT TRANSMISSION
PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES
ONLY TO:

Quintero v. Ford Motor Co.,
Case No. 2:18-cv-01912-AB-FFM

2:18-ml-02814-AB-PVC Document 906 Filed 08/13/20 Page 1of1i Page ID #:37835

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

 

IT ISSO ORDERED.

Date: August 13, 2020

 

In light of the Court's concurrently-issued Order granting Defendant Ford Mota
Company’s Renewed Motion for Judgment as a Matter of Law (Dkt. No. 794), the
Court hereby ENTERS JUDGMENT in favor of Ford Motor Company as follows:

Judgment as a matter of law is granted in favor of Ford and against Plaintiffs as
to Plaintiffs' breach of express warranty claim, as to the issue of civil penalties under

California Civil Code § 1794(c), and as to Plaintiffs' breach of implied warranty clain

under California Civil Code Section 1791.1 .
A BIROTTE JR.

Case No. 2:18-ML-02814 AB (FFMx)
Case No. 2:18-CV-01912 AB (FFMx)

Assigned to Hon. André Birotte Jr.
Courtroom 7B

JUDGMENT

 

 

U.S. DISTRICT COURT JUDGE

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